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                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                         AUSTIN DIVISION

                                             §
 UNITED STATES OF AMERICA                    §
          Plaintiff                          §
V                                            §     Case No. 1:24-MJ-885
                                             §
PHILIP TAYLOR SOBASH                         §
          Defendant                          §


                 NOTICE OF APPEARANCE OF COUNSEL


     Comes now Angelica Cogliano, of Cogliano & Miro, PLLC, and enters her

appearance as counsel for Philip Taylor Sobash in the above-referenced action.


                                             Respectfully submitted,

                                             By: /s/ Angelica Cogliano
                                             Angelica Cogliano
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                                             Attorney for Philip Taylor Sobash




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                           CERTIFICATE OF SERVICE
      I hereby certify that on December 17, 2024, a true and correct copy of the
above and foregoing motion was filed electronically with the U.S. District Clerk’s
Office using the CM/ECF System and delivered to the United States Attorney’s
Office (AUSA Gabe Cohen).

                                           By: /s/Angelica Cogliano
                                           Angelica Cogliano




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